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                         IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION

DERRANCE HARRIS, on behalf of himself
and others similarly situated;                                                      PLAINTIFF

v.                               Case No. 4:25CV00397 - JM

GULFSTREAM RISK PARTNERS LLC,                                                     DEFENDANT
                            PROPOSED
                    FINAL SCHEDULING ORDER

       Pursuant to Rule 16 of the Federal Rules of Civil Procedure, IT IS HEREBY ORDERED:

1.   TRIAL DATE

This case is scheduled for JURY trial before United States District Judge James M. Moody Jr.
commencing at 9:15 a.m. sometime during the week of June 8, 2026, in the Richard Sheppard
Arnold United States Courthouse, Courtroom #4A, 500 West Capitol, Little Rock, Arkansas
72201.

2.   ADDITION OF PARTIES/AMENDMENT OF PLEADINGS

Leave to add parties or amend pleadings must be sought no later than December 15, 2025.

3.   DISCOVERY

Discovery should be completed no later than March 25, 2026. The parties may conduct
discovery beyond this date if all parties are in agreement to do so. The Court, however, will not
resolve any disputes in the course of this extended discovery. All discovery requests and
motions must be filed sufficiently in advance of the discovery deadline set forth in this order to
allow for a timely response. Witnesses and exhibits not identified in response to appropriate
discovery may not be used at trial except in extraordinary circumstances.

A discovery motion must not be filed until counsel has made a good faith effort to resolve the
discovery dispute, in compliance with Local Rule 7.2. When a discovery motion is filed, a
response should be filed promptly. A conference call will be scheduled to resolve such matters,
if the Court deems it necessary.

4.   EXPERT DISCLOSURES AND REPORTS

Case-in-chief expert disclosures, including reports, must be made by January 9, 2026.

Rebuttal expert disclosures, including reports, must be made by February 8, 2026.
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These disclosures must be in writing, signed, and served. They are not filed in the Clerk’s
Office.

5.   STATUS REPORT

A status report must be filed with the Clerk’s office on or before April 9, 2026. The report must
include the date and results of any settlement conference, the settlement prospects, and an estimate
of the length of trial.

6.   MOTION DEADLINE

All motions, except motions for class certification and motions in limine, must be filed on or before
April 9, 2026. Motions for summary judgment must comply with Federal Rules of Civil Procedure
and Local Rules 7.2 and 56.1.

Motions filed pursuant to Daubert v. Merrell Dow Pharmaceuticals, 509 U.S. 579 (1993), must
be filed on or before April 9, 2026. They shall not be filed as a motion in limine.

Pursuant to Local Rule 26.1, motions for class certification must be filed 90 days after the Rule
26(f) conference; therefore, any motions for class certification are due on or before October 12,
2025.

Motions in limine must be filed on or before May 25, 2026 and responses must be filed seven (7)
days thereafter. Motions submitted after the deadline may be denied solely on that ground.

Local Rule 7.2(b) requires that, within fourteen (14) days from the date copies of a motion and
supporting papers have been served, any party opposing a motion shall serve and file with the
Clerk a concise statement in opposition to the motion with supporting authorities. Any reply to a
response to a motion must be filed within seven (7) days of service of the response. The Court
may or may not wait on the filing of a reply before ruling on the motion.


7.   SETTLEMENT CONFERENCE REQUEST

All requests for a settlement conference must be made on or before April 24, 2026.

8.   PRETRIAL DISCLOSURE SHEET

Pretrial disclosure sheets must be filed simultaneously by the parties according to the outline
contained in Local Rule 26.2 no later than May 18, 2026. That witnesses and exhibits must be
listed on the pretrial information sheet does not relieve a party of the obligation to provide the
names of witnesses and exhibits in response to discovery requests.

Objections to opposing parties’ pretrial disclosure sheets will be due on May 25, 2026.

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9.   TRIAL BRIEF

All trial briefs must be filed no later than May 18, 2026. Responding trial briefs must be filed no
later than May 25, 2026.

10. DEPOSITIONS TO BE USED AT TRIAL OTHER THAN FOR IMPEACHMENT

The proffering party must designate the pertinent portions of a deposition to be used as evidence
at trial by May 18, 2026. Counter-designations must be made by May 25, 2026. These
designations need not be filed with the Court but should be exchanged by the parties.

Objections to any deposition or videotapes that will be used at trial must be made by written motion
indicating the specific objection and its legal basis by May 29, 2026, with the response due June
3, 2026. Depositions to be read at trial must be marked as exhibits.

11. JURY INSTRUCTIONS AND STATEMENT OF CASE OR PROPOSED FINDINGS
AND CONCLUSIONS

For jury trials, the parties must confer regarding the proposed instructions and a verdict form in
an attempt to narrow areas of disagreement. The parties must submit an agreed set of
instructions on specific issues in the case to the Court on or before June 1, 2026. Standard
instructions from AMI, Eighth Circuit, or Federal Jury Practice Instructions (5th Edition), as
applicable, should be used whenever possible, and the source of authority for the instruction
should be noted at the end of each instruction.

A party requesting an instruction that cannot be agreed upon must submit that instruction to the
Court and opposing counsel, setting out the disagreement. Note the source of authority on the
bottom of each proposed instruction. Instructions must be electronically submitted in Word or
WordPerfect format to jmchambers@ared.uscourts.gov.

Each party must submit to the Court on or before June 1, 2026 a concise statement of the case,
no more than one page in length, that it proposes would be proper to read to the panel of venire
persons during voir dire and also any proposed voir dire questions it wishes the Court to pose to
the panel.

12. STIPULATIONS

The parties should stipulate in writing to the facts not in controversy on or before June 1, 2026.

13. INTRODUCTION OF EXHIBITS

Exhibits must be made available to all parties and reviewed by counsel prior to the trial date.
Each party will provide to the Court three (3) copies of all exhibits, and each exhibit will be
numbered for identification purposes. All exhibits must be listed in numerical sequence on the

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form available through the Court’s website (See Court Forms - Civil Forms AO-187 Exhibit and
Witness List). The lists must be submitted to the Courtroom Deputy thirty (30) minutes before
the beginning of trial, with notations made on the Court’s copy of the list noting exhibits to
which there is an objection. The Court will receive all stipulated exhibits at the beginning of the
trial.

If you anticipate using electronic equipment during trial, you must notify the Courtroom Deputy
prior to your trial date. If you wish to bring electronic devices to the courthouse for any
proceeding, please note Amended General Order No. 54.

14.    CONFLICTS OF INTEREST

Counsel must promptly check the Court’s list of financial interests on file in the U.S. District
Court Clerk’s Office to determine whether there is any conflict that might require recusal. If any
party is a subsidiary or affiliate of any company in which the Court has a financial interest, bring
that fact to the Court’s attention immediately.

Please communicate with Kacie Glenn at 501-604-5154 or kacie_glenn@ared.uscourts.gov to
ascertain your position on the calendar as the trial date approaches. In the event of settlement,
advise Ms. Glenn immediately. The case will not be removed from the trial docket until an order
of dismissal has been entered.

Dated: PROPOSED

                                                      AT THE DIRECTION OF THE COURT
                                                      TAMMY H. DOWNS, CLERK

                                                      By:    Kacie Glenn                    _
                                                             Courtroom Deputy




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